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                              CERTIFICATE OF SERVICE


                I, DEBRA O. FULLEM, do hereby certify that I am over the age of 18, and that
on October 9, 2009, I caused the Notice, Cover Sheet, Eighteenth Quarterly Interim Application
of Towers Perrin Tillinghast, Actuarial Consultants to David T. Austern, Asbestos PI Future
Claimants’ Representative for Compensation for Services Rendered and Reimbursement of
Expenses Incurred for the Period April 1, 2009 through June 30, 2009, and Verification, to be
served upon those persons as shown below and a copy of the Notice and Cover Sheet to all parties
as shown on the attached Service List.

Federal Express                                  Regular Mail
Laura Davis Jones, Esquire                       Vito I. DiMaio
James O’Neil, Esquire                            Parcels, Inc.
Pachulski Stang Ziehl & Jones LLP                10th & King Streets
919 North Market Street, 16th Floor              P.O. Box 27
Wilmington, DE 19899-8705                        Wilmington, DE 19899

Federal Express                                  Federal Express and Email:
David M. Klauder, Esquire                        feeaudit@whsmithlaw.com and
Office of the United States Trustee              bruhlander@whsmithlaw.com
844 King Street, Suite 2207, Lockbox 35          Bobbi Ruhlander
Wilmington, DE 19801                             Warren H. Smith & Associates
                                                 Republic Center
                                                 325 N. St. Paul, Suite 1250
                                                 Dallas, TX 75201

Federal Express and E-mail:                      E-mail: nglassman@bayardfirm.com
richard.finke@grace.com                          (Local Counsel to DIP Lender)
(W.R. Grace & Co.)                               Neil B. Glassman, Esquire
David B. Siegel                                  The Bayard Firm
W.R. Grace and Co.
7500 Grace Drive
Columbia, MD 21044

E-mail: meskin@camlev.com                        E-mail: ttacconelli@ferryjoseph.com
(Local Counsel to Asbestos Claimants)            (Counsel for Property Damage Claimants)
Marla Eskin, Esquire                             Theodore Tacconelli, Esquire
Campbell & Levine, LLC                           Ferry & Joseph, P.A.

E-mail: mlastowski@duanemorris.com               E-mail: tcurrier@saul.com
(Counsel to Official Committee of Unsecured      (Counsel for Official Committee of Equity
Creditors)                                       Holders)
Michael R. Lastowski, Esquire                    Teresa K.D. Currier, Esquire
Duane, Morris & Heckscher LLP                    Saul Ewing LLP
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E-mail: eholzberg@stroock.com                  E-mail: pvnl@capdale.com
(Official Committee of Unsecured Creditors)    (Official Committee of Personal Injury
Lewis Kruger, Esquire                          Claimants)
Stroock & Stroock & Lavan LLP                  Elihu Inselbuch, Esquire
                                               Caplin & Drysdale, Chartered



E-mail: dboll@kirkland.com                     E-mail: jsakalo@bilzin.com
(Counsel to Debtor)                            (Official Committee of Property Damage
James H.M. Sprayregen, P.C.                    Claimants)
Deanne Boll, Esq.                              Scott L. Baena, Esquire
Kirkland & Ellis                               Bilzin Sumberg Baena Price & Axelrod LLP



E-mail: david.heller@lw.com and                E-mail: pbentley@kramerlevin.com
carol.hennessey@lw.com                         (Counsel to Official Committee of Equity
(Counsel to DIP Lender)                        Holders)
J. Douglas Bacon, Esquire                      Philip Bentley, Esquire
Latham & Watkins                               Kramer Levin Naftalis & Frankel LLP




                                      /S/ DEBRA O. FULLEM
                                      Debra O. Fullem
                                      Orrick, Herrington & Sutcliffe LLP
